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16                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
17                                    SAN JOSE DIVISION

18   IN RE: APPLE INC. DEVICE                          CASE NO. 5:18-md-02827-EJD
     PERFORMANCE LITIGATION
19                                                     STIPULATION AND [PROPOSED] ORDER
                                                       REGARDING HEARING ON MOTION FOR
20                                                     PRELIMINARY APPROVAL OF PROPOSED
                                                       SETTLEMENT
21   This Document Relates to:
                                                       Judge: Hon. Edward J. Davila
22                  ALL ACTIONS.                       Courtroom: 4, 5th Floor

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                                                                              Case No. 5:18-md-02827-EJD
        STIP. AND [PROPOSED] ORDER RE HEARING ON MOTION FOR PRELIM. APPROVAL OF PROPOSED SETTLEMENT
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 1            WHEREAS, on February 28, 2020, Named Plaintiffs filed their Motion for Preliminary
 2   Approval of Settlement (the “Motion”) [Dkt. 415], which was set for hearing on April 3, 2020;
 3            WHEREAS, on March 13, 2020, Defendant Apple Inc. (“Apple”) filed a Statement in
 4   Support of Motion for Preliminary Approval of Proposed Settlement [Dkt. 417];
 5            WHEREAS, there has been no opposition or objection to the Motion filed with the Court;
 6            WHEREAS, in light of COVID19, the Northern District of California issued General
 7   Orders 72 and 73, which closed the Court to public access and instructed parties that “[a]ll civil
 8   matters will be decided on the papers, or if the assigned judge believes a hearing is necessary, the
 9   hearing will be by telephone or videoconference”;
10            WHEREAS, the Court informed the Parties that it is available to continue the hearing from
11   April 3, 2020 to May 15, 2020 at 10:00 a.m.;
12            WHEREAS, Plaintiffs are amenable to either: (1) submitting the Motion for decision on the
13   papers without the need for a hearing pursuant to Civil L.R. 7-1(b); (2) maintaining the original
14   April 3, 2020 hearing date, or such other date set by the Court, and appearing either by phone or
15   videoconference date pursuant to General Order 72; or (3) moving the hearing on the Motion to
16   May 15, 2020 and appearing in person, by phone or by videoconference, at the preference of the
17   Court;
18            WHEREAS, Apple believes that a hearing is appropriate on the Motion, given
19   Rule 23(e)(2)’s reference to a hearing and the importance of addressing any of the Court’s issues
20   before certifying a settlement class and issuing notice, and Apple is available on May 15, 2020 for
21   the hearing;
22            THEREFORE IT IS HEREBY AGREED, between Apple and Plaintiffs that:
23            The Court, at its discretion, can move the hearing on the Motion to May 15, 2020 at
24   10:00 a.m.
25    DATED: March 20, 2020                      COTCHETT, PITRE & McCARTHY LLP
26                                               By:    /s/ Joseph W. Cotchett
                                                 JOSEPH W. COTCHETT, SBN 036324
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15   DATED: March 20, 2020                    GIBSON, DUNN & CRUTCHER LLP

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 1                                          ECF ATTESTATION
 2          I, Laurence D. King, hereby attest that concurrence in the filing of this document has been
 3   obtained from the above signatories.
 4
     DATED: March 20, 2020                         By:      /s/ Laurence D. King
 5                                                              Laurence D. King
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10                                          [PROPOSED] ORDER
11          Pursuant to the Stipulation, it is ORDERED that the hearing on Plaintiffs’ Motion for
12   Preliminary Approval of Settlement [Dkt. 415] shall be rescheduled to take place on May 15,
13   2020 at 10:00 a.m.
14          IT IS SO ORDERED.
15

16   DATED: ____________________             ____________________________________________
                                              Hon. Edward J. Davila
17                                            United States District Judge

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